     Case: 1:19-cv-01789 Document #: 47 Filed: 06/10/19 Page 1 of 1 PageID #:3324



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

H-D U.S.A., LLC,
                                                   Case No. 19-cv-01789
               Plaintiff,
                                                   Judge Charles R. Norgle
v.
                                                   Magistrate Judge Maria Valdez
3AAA STORE, et al.,
               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff H-D U.S.A.,

LLC (“Harley-Davidson” or “Plaintiff”) hereby dismisses this action with prejudice against the

following Defendants:

                  Defendant Name                                 Line No.
                  Lonely Biker shop                                142
       Saintbell Technology Company Limited                        154
     shenzhenshixingjiexundianziyouxiangongsi                      157
                    Trusted Store                                  162


Dated this 10th day of June 2019.           Respectfully submitted,


                                            /s/ Justin R. Gaudio
                                            Amy C. Ziegler
                                            Justin R. Gaudio
                                            RiKaleigh C. Johnson
                                            Greer, Burns & Crain, Ltd.
                                            300 South Wacker Drive, Suite 2500
                                            Chicago, Illinois 60606
                                            312.360.0080 / 312.360.9315 (facsimile)
                                            aziegler@gbc.law
                                            jgaudio@gbc.law
                                            rjohnson@gbc.law

                                            Counsel for Plaintiff H-D U.S.A., LLC
